                Case 3:21-cr-00155-JD Document 70 Filed 08/19/22 Page 1 of 5




 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 MICHAEL G. PITMAN (DCBN 484164)
   Assistant United States Attorney
 5 150 Almaden Boulevard, Suite 900
   San Jose, CA 95113
 6 Telephone: (408) 535-5040
   Facsimile:     (408) 535-5081
 7 Email: michael.pitman@usdoj.gov

 8 COREY J. SMITH (MABN 553615)
   Senior Litigation Counsel
 9 United States Department of Justice
   Telephone:     (202)514-5230
10 Email: corey.smith@usdoj.gov

11 Attorneys for United States of America

12                                   UNITED STATES DISTRICT COURT

13                                 NORTHERN DISTRICT OF CALIFORNIA

14                                        SAN FRANCISCO DIVISION

15    UNITED STATES OF AMERICA,                            Criminal No. 3:21-CR-00155-JD

16           Plaintiff,                                    GOVERNMENT’S RESPONSE TO
                                                           DEFENDANT’S MOTION TO EXCLUDE OR
17                                                         LIMITED OPINIONS AND TESTIMONY OF
                              v.                           REVENUE AGENT JAMES OERTEL
18
      CARLOS E. KEPKE,                                     Hearing.:          October 17, 2022
19                                                         Time:              10:30 a.m.
             Defendant.                                    Place:             Courtroom 11, 19th Floor
20

21          The United States of America (“United States”) hereby respectfully opposes Defendant’s Motion

22 to Exclude, or in the Alternative to Limit, Certain Opinions and Testimony of Revenue Agent James

23 Oertel, filed on August 5, 2022 (ECF No. 64) (the “Motion”).

24          The Motion raises four arguments.

25          First, the Motion suggest that Agent Oertel’s testimony has not been properly disclosed. See

26 Motion at 1-2. That is incorrect. On June 3, 2022, the government produced to Defendant an

27 exhaustive, multifaceted disclosure of Agent Oertel’s qualifications and opinions, and the basis for those

28 opinions. This disclosure consisted of:

      RESP. TO MOT. TO EXCLUDE OR LIMIT OPINIONS AND   1
      TESTIMONY OF REVENUE AGENT JAMES OERTEL
      Case No.: 3:21-CR-00155-JD
                Case 3:21-cr-00155-JD Document 70 Filed 08/19/22 Page 2 of 5




 1                  An eight-page Notice, filed on June 3, 2022 (ECF No. 46), summarizing Agent Oertel’s
 2                   education, training, and experience and attaching his resume, and explaining that the

 3                   evidence at trial will include financial transactions covering several years, including the

 4                   source and/or disposition of the funds involved in those transactions, and that Agent

 5                   Oertel would testify regarding the tax consequences of those transactions, including

 6                   quantifying the amount of income Robert Smith assigned to a limited liability company

 7                   called Flash Holdings, which was created in Nevis by Defendant for Smith in March of

 8                   2000, and calculating the tax Smith would have owed if he had reported that income as

 9                   his own during the years at issue;

10                  A multi-page draft Revenue Agent Report for each of the tax years at issue (2005-2012)
11                   detailing Agent Oertel’s conclusions regarding the amount of income that went

12                   unreported by Smith for each year, and the resulting tax consequences. A redacted report

13                   for a single year, 2006, is attached hereto as Exhibit 1 for illustrative purposes.

14                  A multi-page spreadsheet summarizing the tax consequences reflected in the draft
15                   Revenue Agent Reports for each year; and

16                  Two hundred and fifty-seven pages of backup material.
17          These materials describe the opinions Agent Oertel is prepared to render and the basis for those

18 opinions. As disclosed, Agent Oertel will provide an analysis of admitted evidence and explain the

19 resulting tax consequences, and those consequences are disclosed in great detail in the draft Revenue

20 Agent Reports and accompanying materials. Thus, the Motion’s complaint that it is “difficult to discern

21 exactly what the government plans to have this witness testify about, or what sources Agent Oertel

22 would be relying on” is simply inaccurate.

23          Second, the Motion argues that Agent Oertel’s testimony will be based on hearsay. See Motion

24 at 3. That is incorrect. The government’s Disclosure clearly indicates that Agent Oertel’s testimony

25 will be based on evidence admitted at trial, including IRS records, financial records, witness testimony,

26 and summaries of voluminous evidence as defined by Rule 1006. See ECF No. 46 at 4. The Motion

27 suggest that such testimony “would be highly unusual.” Not so. In fact (as discussed in the United

28 States’ Notice), the use of IRS agents as summary-expert witnesses in criminal tax prosecutions is an

      RESP. TO MOT. TO EXCLUDE OR LIMIT OPINIONS AND      2
      TESTIMONY OF REVENUE AGENT JAMES OERTEL
      Case No.: 3:21-CR-00155-JD
                Case 3:21-cr-00155-JD Document 70 Filed 08/19/22 Page 3 of 5




 1 accepted practice. See, e.g., United States v. Marchini, 797 F.2d 759, 765-66 (9th Cir. 1986) (approving

 2 the testimony of an IRS summary expert based on evidence adduced at trial, which included the

 3 testimony of the previous witnesses and the government’s exhibits) (citing cases); United States v.

 4 Voorhies, 658 F.2d 710, 715 (9th Cir. 1981) (“[T]he fact of a tax due and owing may be also established

 5 by documentary evidence of tax liability, accompanied by a summary by an expert.”); see also United

 6 States v. Ratfield, 342 F. App’x 510, 512-13 & n.4 (11th Cir. 2009) (unreported) (“The district court did

 7 not abuse its discretion in deciding to allow the two IRS agents to remain in the courtroom during trial. .

 8 . . Agent Lottman testified about his calculation of [defendant’s] taxable income and also as a summary

 9 witness regarding the total tax loss to the Government.”); United States v. Lussier, 929 F.2d 25, 30 (1st

10 Cir. 1995) (“Pursuant to Fed. R. Evid. 615, the district court sequestered all trial witnesses except (1) the

11 government’s case agent . . . and (2) an IRS agent named Gary Soares, who testified at the end of the

12 government’s case to his calculation of the taxes due and owing by Lussier, based on ‘the testimony and

13 documents in evidence.’ [Defendant] objects to Soares’ presence, but there was no error in the district

14 court’s decision to allow him to remain.”); United States v. Ray, 20-cr-110, 2022 WL 558146, at * 16

15 (S.D.N.Y. Feb. 24, 2022) (citing cases); United States v. Baras, No. 11-CR-00523-YGR, 2013 WL

16 6502846, at * 4 n.4 (N.D. Cal. Dec. 11, 2013) (“In tax evasion cases, courts permit IRS agents to testify

17 as summary witnesses.”) (citing cases); cf United States v. Olano, 62 F.3d 1180, 1203-04 (9th Cir. 1995)

18 (permitting the testimony of a summary witness who used “a number of charts . . . [to summarize] the

19 evidence presented by the government’s preceding witnesses” in a fraud case). The Motion’s hearsay

20 arguments are directed at Defendant’s misinterpretation of the government’s disclosure and

21 consequently require no further analysis.

22          Third, the Motion argues that Agent Oertel’s proposed testimony consists of improper legal

23 conclusions. See Motion at 3-5. Again, the Motion is mistaken. In fact, as illustrated by the authorities

24 cited in the preceding paragraph, it is well-established that IRS agents may testify regarding the tax

25 consequences of transactions in criminal tax cases. In this case, Agent Oertel will calculate for the jury

26 the tax consequences of Smith’s failure to report income allocated to Flash Holdings on his income tax

27 returns. Such testimony consists of the unremarkable application of noncontroversial tax principles to

28 an evidence-based, easily quantified amount of unreported income. Agent Oertel will not offer any

      RESP. TO MOT. TO EXCLUDE OR LIMIT OPINIONS AND   3
      TESTIMONY OF REVENUE AGENT JAMES OERTEL
      Case No.: 3:21-CR-00155-JD
                Case 3:21-cr-00155-JD Document 70 Filed 08/19/22 Page 4 of 5




 1 opinion about whether Smith should have reported the income in question on his tax returns (although it

 2 is the government’s theory that he should have, and Smith himself has admitted as much), or any

 3 opinions about Defendant’s state of mind. Rather, he will explain to the jury the difference between the

 4 tax liabilities Smith actually reported on his income tax returns, and the tax he would have owed if he

 5 had reported the income allocated to Flash Holdings as his own income – a difference of more than

 6 $35,000,000. This evidence will certainly help the jury understand why Defendant and Smith engaged

 7 in their conspiracy and does not constitute an improper legal conclusion. See, e.g., United States v.

 8 Stierhoff, 549 F.3d 19, 27-28 (1st Cir. 2008) (rejecting defendant’s argument that trial court should have

 9 excluded IRS agent’s summary witness testimony about defendant’s tax liabilities on the grounds that it

10 embodied impermissible legal conclusions); United States v. Wade, 203 F. App’x 920, 930 (10th Cir.

11 2006) (unreported) (“The court [in United States v. Windfelder, 790 F.2d 576, 581-82 (7th Cir. 1986)]

12 held, and we agree, that a properly qualified IRS agent may analyze a transaction and give expert

13 testimony about its tax consequences but may not express an opinion about the defendant’s state of mind

14 at the time of the transaction.”); United States v. Monus, 128 F.3d 376, 386 (6th Cir. 1997) (“[IRS

15 Revenue Agent] Kurzweil did not give his opinion about whether or not defendant was guilty; he merely

16 gave his opinion that the events assumed in the question would trigger tax liability. Such testimony is

17 permissible as an expert opinion to help the jury determine a fact in issue.”). The authorities cited by the

18 Motion on this point, including United States v. Boulware, 558 F.3d 971 (9th Cir. 2009), are completely

19 inapposite. In Boulware, the court properly excluded expert testimony on the ultimate issue in the case

20 – whether the corporate distributions in dispute were legally non-taxable. See id. at 975. In essence, the

21 expert at issue in Boulware sought to tell the jury that, in his opinion, the defendant should prevail in the

22 case. Agent Oertel’s testimony, consisting of the mere application of tax and accounting principles to a

23 set of facts, is several steps removed from such an impermissible opinion. The Motion’s arguments do

24 not address the government’s actual anticipated evidence or the applicable Ninth Circuit law.

25          Fourth, the Motion requests a Court-imposed deadline for the production of Rule 1006 materials.

26 See Motion at 5. The government has no opposition to providing drafts of the summaries before

27 October 24, 2022. The summaries will not be finalized until shortly before they are offered because

28 they will incorporate evidence admitted at trial, and the government will produce copies of these

      RESP. TO MOT. TO EXCLUDE OR LIMIT OPINIONS AND   4
      TESTIMONY OF REVENUE AGENT JAMES OERTEL
      Case No.: 3:21-CR-00155-JD
               Case 3:21-cr-00155-JD Document 70 Filed 08/19/22 Page 5 of 5




 1 materials to the Court and Defendant as they are finalized.

 2

 3 Respectfully submitted: August 19, 2022                       STEPHANIE M. HINDS
                                                                 United States Attorney
 4
                                                                 s/ Michael G. Pitman
 5                                                               COREY J. SMITH
                                                                 Senior Litigation Counsel, Tax Division
 6
                                                                 MICHAEL G. PITMAN
 7                                                               Assistant United States Attorney
                                                                 BORIS BOURGET
 8                                                               Trial Attorney, Tax Division
 9                                                               Attorneys for United States of America
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     RESP. TO MOT. TO EXCLUDE OR LIMIT OPINIONS AND   5
     TESTIMONY OF REVENUE AGENT JAMES OERTEL
     Case No.: 3:21-CR-00155-JD
